Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
08/11/2020 12:08 AM CDT




                                                        - 711 -
                             Nebraska Court of Appeals Advance Sheets
                                  28 Nebraska Appellate Reports
                                  IN RE INTEREST OF TANNER H. &amp; TA’NNYA H.
                                             Cite as 28 Neb. App. 711



                           In re Interest of Tanner H. and Ta’Nnya H.,
                                  children under 18 years of age.
                                   State of Nebraska, appellee,
                                    v. Shearetta S., appellant.
                                                   ___ N.W.2d ___

                                        Filed August 4, 2020.     No. A-19-1177.

                 1. Juvenile Courts: Appeal and Error. An appellate court reviews juve-
                    nile cases de novo on the record and reaches a conclusion independently
                    of the juvenile court’s findings.
                 2. Judgments: Jurisdiction: Appeal and Error. A jurisdictional ques-
                    tion that does not involve a factual dispute is a question of law. When
                    reviewing questions of law, an appellate court resolves the questions
                    independently of the conclusions reached by the trial court.
                 3. Standing: Words and Phrases. Standing involves a real interest in the
                    cause of action, meaning some legal or equitable right, title, or interest
                    in the subject matter of the controversy.
                 4. Standing: Parties. The purpose of the standing inquiry is to determine
                    whether a person has a legally protectable interest or right in the contro-
                    versy that would benefit by the relief to be granted.
                 5. Standing: Proof. Persons claiming standing must show that their claim
                    is premised on their own legal rights and not the rights of another.
                 6. Standing: Jurisdiction: Parties. Standing is a jurisdictional component
                    of a party’s case, because only a party who has standing may invoke the
                    jurisdiction of a court.
                 7. Parental Rights: Interventions. Grandparents have a direct legal inter-
                    est in juvenile dependency proceedings involving their biological or
                    adopted grandchildren that entitles them to intervene as a matter of right
                    in such proceedings, prior to final disposition.
                 8. Parental Rights. The rights of grandparents are altered once their own
                    child terminates his or her parental rights to the grandchildren.
                                    - 712 -
          Nebraska Court of Appeals Advance Sheets
               28 Nebraska Appellate Reports
              IN RE INTEREST OF TANNER H. &amp; TA’NNYA H.
                         Cite as 28 Neb. App. 711
 9. Parent and Child. A foster parent may have a role in a juvenile pro-
    ceeding, but it does not confer on him or her a right, title, or interest in
    the subject matter of the controversy.
10. Juvenile Courts: Parental Rights: Appeal and Error. The right to
    appeal in a juvenile case is purely statutory, and neither foster par-
    ents nor grandparents, as such, have a statutory right to appeal from
    a juvenile court order pursuant to Neb. Rev. Stat. § 43-2,106.01(2)
    (Reissue 2016).

  Appeal from the Separate Juvenile Court of Douglas County:
Chad M. Brown, Judge. Appeal dismissed.
   Anne E. Troia, P.C., L.L.O., for appellant.
   No appearance for appellee.
   Pirtle, Bishop, and Welch, Judges.
   Pirtle, Judge.
                       INTRODUCTION
   This is an appeal from an order issued by the separate
juvenile court of Douglas County, Nebraska, revoking the
biological maternal grandmother’s intervenor status. Because
she lacked standing to appeal from this order, we dismiss the
appeal for lack of jurisdiction.
                        BACKGROUND
   Shearetta S. is the biological maternal grandmother of the
children in this case. Shearetta was allowed to intervene on
that basis and, for a time, was the foster placement for her
grandchildren. On November 14, 2019, an adoption review
hearing was held and Shearetta appeared with her lawyer. At
the start of the hearing, the lawyer for Nebraska’s Foster Care
Review Office made an oral motion to revoke Shearetta’s
intervenor status because Shearetta’s parental rights to the
mother of the children had been terminated in 2004 and
because the mother of these children had also relinquished
her parental rights. It was the Foster Care Review Office’s
position that Shearetta’s status had been reduced to a “foster
                               - 713 -
        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
            IN RE INTEREST OF TANNER H. &amp; TA’NNYA H.
                       Cite as 28 Neb. App. 711
parent” and that foster parents do not have the right to inter-
vene in any case.
   While acknowledging Shearetta’s parental rights had in fact
been terminated in 2004, Shearetta’s lawyer reminded the court
that neither the State nor the guardian ad litem had objected to
granting Shearetta’s intervenor status as the maternal grand-
mother. But Shearetta’s lawyer agreed that as soon as “the
parental relationships [were] terminated,” Shearetta “los[t] her
standing as a grandparent.”
   The court granted the oral motion to revoke Shearetta’s
intervenor status because “standing of your client is always
an issue that rises to the top” and because the motion to
revoke had been made, so the court needed to address it in the
moment. The county attorney suggested the motion be set for
an evidentiary hearing, because no notice of the motion had
been given. Shearetta took that position as well. The court
acknowledged there was no notice given to Shearetta, but the
court said it would take judicial notice of its file, indicating the
biological mother had in fact relinquished her parental rights,
so setting a hearing would not change the facts. Shearetta
appeals from the order revoking her intervenor status, because
she was not given any notice that her intervention in the case
was at risk.

                  ASSIGNMENT OF ERROR
   Shearetta assigns as error the juvenile court’s order that her
intervenor status could be revoked without proper notice to her
and her lawyer.

                   STANDARD OF REVIEW
   [1,2] An appellate court reviews juvenile cases de novo
on the record and reaches a conclusion independently of the
juvenile court’s findings. In re Interest of Enyce J. &amp; Eternity
M., 291 Neb. 965, 870 N.W.2d 413 (2015). A jurisdictional
question that does not involve a factual dispute is a ques-
tion of law. When reviewing questions of law, an appellate
                              - 714 -
        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
            IN RE INTEREST OF TANNER H. &amp; TA’NNYA H.
                       Cite as 28 Neb. App. 711
court resolves the questions independently of the conclusions
reached by the trial court. Id.                            ANALYSIS
   [3-6] Standing involves a real interest in the cause of action,
meaning some legal or equitable right, title, or interest in the
subject matter of the controversy. In re Interest of Jackson
E., 293 Neb. 84, 875 N.W.2d 863 (2016). The purpose of the
standing inquiry is to determine whether a person has a legally
protectable interest or right in the controversy that would ben-
efit by the relief to be granted. In re Interest of Enyce J. &amp;
Eternity M., supra. Persons claiming standing must show that
their claim is premised on their own legal rights and not the
rights of another. In re Interest of Jackson E., supra. Standing
is a jurisdictional component of a party’s case, because only
a party who has standing may invoke the jurisdiction of a
court. Id.   In her brief’s “Statement of Jurisdiction,” Shearetta cites us
to Neb. Rev. Stat. § 43-2,106.01 (Reissue 2016), as the basis
for our jurisdiction for this appeal, which states: “(2) An appeal
[of any final order or judgment entered by a juvenile court]
may be taken by: (a) The juvenile; (b) The guardian ad litem;
(c) The juvenile’s parent, custodian, or guardian.” However,
Shearetta is, at best, only a foster parent.
   [7,8] Grandparents have a direct legal interest in juvenile
dependency proceedings involving their biological or adopted
grandchildren that entitles them to intervene as a matter of right
in such proceedings, prior to final disposition. See In re Interest
of Kayle C. &amp; Kylee C., 253 Neb. 685, 574 N.W.2d 473 (1998).
However, the rights of grandparents are altered once their own
child terminates his or her parental rights to the grandchildren.
See id. Because Shearetta’s daughter relinquished her parental
rights to Shearetta’s grandchildren, Shearetta no longer had a
legal interest, or standing, in the juvenile court proceedings as
a grandparent.
   [9,10] As a foster parent, Shearetta’s right to participate
in the juvenile court proceeding is limited. A foster parent is
                              - 715 -
        Nebraska Court of Appeals Advance Sheets
             28 Nebraska Appellate Reports
            IN RE INTEREST OF TANNER H. &amp; TA’NNYA H.
                       Cite as 28 Neb. App. 711
entitled to notice of hearings, but notice “shall not be construed
to require that such foster parent . . . is a necessary party to
the review or hearing.” Neb. Rev. Stat. § 43-1314(2) (Reissue
2016). A foster parent may have a role in a juvenile proceed-
ing, but it does not confer on him or her a right, title, or inter-
est in the subject matter of the controversy. See In re Interest
of Enyce J. &amp; Eternity M., supra. Since Shearetta no longer
had standing to intervene as a necessary party, she has no
right to appeal from the juvenile court’s decision revoking her
intervenor status. See, also, In re Interest of Jackson E., supra(right to appeal in juvenile case is purely statutory, and neither
foster parents nor grandparents, as such, have statutory right to
appeal from juvenile court order pursuant to § 43-2,106.01(2)).
Accordingly, we dismiss Shearetta’s appeal for lack of jurisdic-
tion, because she had no standing to appeal.
                        CONCLUSION
   Because Shearetta had no standing to appeal, the appeal is
dismissed for lack of jurisdiction.
                                         Appeal dismissed.
